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                   EXHIBIT 3
                Case 1:19-cv-12551-FDS Document 494-3 Filed 05/19/23 Page 2 of 4




From:                Nathan R. Speed <Nathan.Speed@WolfGreenfield.com>
Sent:                Thursday, April 27, 2023 11:19 AM
To:                  Kevin Gannon
Cc:                  WGS-Singularv.Google@WolfGreenfield.com; kvp-singular; mkwun@kblfirm.com;
                     mkamber@paulhastings.com; abhansali@kblfirm.com; Singular; Matthew Vella
Subject:             RE: Singular Computing LLC v. Google LLC, Case 1:19-cv-12551-FDS


[EXTERNAL]

Kevin,

The information you request is not relevant to any issue remaining in the case and, even if it were, the time to request
the information was during discovery, not on the eve of the summary judgment deadline.

Nonetheless, we have looked into the documents you identified, and subject to your prior agreement that disclosing this
information does not operate a waiver of either the attorney‐client privileged or the work product doctrine, we can
confirm that Google was not aware of the listed documents prior to filing its IPR petitions against the asserted
patents. For additional clarity, while Google was aware prior to filing its IPRs of the current version of the website
reflected in Exhibit E, which links to the code included in Exhibit D, Google was not aware of Exhibit E or the website it
reflects, which dates from 2003.

Thanks,

Nathan

From: Kevin Gannon <kgannon@princelobel.com>
Sent: Wednesday, April 26, 2023 4:21 PM
To: Speed, Nathan R. <Nathan.Speed@WolfGreenfield.com>
Cc: WGS‐Singular v. Google <WGS‐Singularv.Google@WolfGreenfield.com>; kvp‐singular <kvpsingular@keker.com>;
mkwun@kblfirm.com; mkamber@paulhastings.com; abhansali@kblfirm.com; Singular <Singular@princelobel.com>;
Matthew Vella <mvella@princelobel.com>
Subject: RE: Singular Computing LLC v. Google LLC, Case 1:19‐cv‐12551‐FDS

Nathan,

While we don’t understand how the date(s) that Google first became aware of the below documents could be privileged
in any way, we will agree that by providing this informa on to us will not result in a waiver of either the a orney‐client
privilege or the a orney‐work product doctrine.

Thanks,
Kevin

From: Nathan R. Speed <Nathan.Speed@WolfGreenfield.com>
Sent: Wednesday, April 26, 2023 2:44 PM
To: Kevin Gannon <kgannon@princelobel.com>
Cc: WGS‐Singularv.Google@WolfGreenfield.com; kvp‐singular <kvpsingular@keker.com>; mkwun@kblfirm.com;
mkamber@paulhastings.com; abhansali@kblfirm.com; Singular <Singular@princelobel.com>; Matthew Vella


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<mvella@princelobel.com>
Subject: RE: Singular Computing LLC v. Google LLC, Case 1:19‐cv‐12551‐FDS


Kevin,

Although discovery ended long ago, we are looking into the informa on you are reques ng. That informa on,
however, implicates privileged a orney‐client communica ons and confiden al a orney‐work product.
Assuming we are able to locate the informa on you seek and agree to provide it to you, will Singular agree that
doing so does not result in a waiver of either the a orney‐client privilege or the a orney‐work product doctrine?

Best,

Nathan


From: Kevin Gannon <kgannon@princelobel.com>
Sent: Monday, April 24, 2023 10:06 AM
To: Speed, Nathan R. <Nathan.Speed@WolfGreenfield.com>
Cc: WGS‐Singular v. Google <WGS‐Singularv.Google@WolfGreenfield.com>; kvp‐singular <kvpsingular@keker.com>;
mkwun@kblfirm.com; mkamber@paulhastings.com; abhansali@kblfirm.com; Singular <Singular@princelobel.com>;
Matthew Vella <mvella@princelobel.com>
Subject: RE: Singular Computing LLC v. Google LLC, Case 1:19‐cv‐12551‐FDS

Nathan,

Please provide us with the date(s) that Google first became aware of the following documents:

       1. Exhibits C – J to the Expert Report of Miriam Leeser, Ph.D. Regarding Invalidity; and

       2. Toshikazu Ebisuzaki et al., GRAPE Project: An Overview, Publica ons of the Astronomical Society of Japan, Vol.
          65 (1993) (GUSTAFSON000166)

Please provide this informa on by April 26, 2023 as it is needed for use in mo ons that are due on April 28, 2023.

Thanks,
Kevin




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this email. Thank you.

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